  Case 20-16511-MBK             Doc 26       Filed 07/22/20 Entered 07/22/20 14:58:23             Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Albert Russo
  CN 4853
  Trenton, NJ 08650
  (609) 587-6888
  Standing Chapter 13 Trustee




  In re:
                                                             Case No.: 20-16511 / MBK
  Alvaro O. Britto
                                                             Chapter 13
  Lillian M. Britto
                                                             Hearing Date: 8/4/20 at 10:00AM

                                 Debtor(s)                   Judge: Michael B. Kaplan



                   TRUSTEE'S SUPPLEMENTAL OBJECTION TO CONFIRMATION OF THE PLAN



    Albert Russo, the Standing Chapter 13 Trustee, hereby objects to for the following reasons:


  1.       The certification of service for the plan lien avoidance of FCI Lender Services/VAK M100 Fund
           on the second Mortgage served the creditor at the payment address per their proof of claim
           #10-1. Needs Amended proof of Service on creditor to the address for notices per the proof of
           claim. There are 2 different addresses therefore it is unclear if this creditor received notice on
           plan proposed plan treatment of their claim.




Dated: July 22, 2020                                     /s/ Albert Russo
                                                         Albert Russo, Standing Chapter 13 Trustee
                                                         By: Mary Krieger, Staff Attorney




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